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 6                             UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                       2:20-CR-023-KJD-DJA

 9                Plaintiff,                       Preliminary Order of Forfeiture

10         v.

11 ROBERT ISAIAH MARSHALL,

12                Defendant.

13         This Court finds Robert Isaiah Marshall pled guilty to Count One of a One-Count
14 Criminal Indictment charging him with felon in possession of a firearm in violation of 18

15 U.S.C. § 922(g)(1). Criminal Indictment, ECF No. 13; Change of Plea, ECF No. 27
                                                                                __; Plea
16 Agreement, ECF No. __.
                      28
17         This Court finds Robert Isaiah Marshall agreed to the forfeiture of the property set
18 forth in the Plea Agreement and the Forfeiture Allegation of the Criminal Indictment.

19 Criminal Indictment, ECF No. 13; Change of Plea, ECF No. 27
                                                            __; Plea Agreement, ECF No.
20 28
   __.
21         This Court finds, pursuant to Fed. R. Crim. P. 32.2(b)(1) and (b)(2), the United
22 States of America has shown the requisite nexus between property set forth in the Plea

23 Agreement and the Forfeiture Allegation of the Criminal Indictment and the offense to

24 which Robert Isaiah Marshall pled guilty.

25         The following property is any firearm or ammunition involved in or used in any
26 knowing violation of 18 U.S.C. § 922(g)(1), and is subject to forfeiture pursuant to 18 U.S.C.

27 § 924(d)(1) with 28 U.S.C. § 2461(c):

28 / / /
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 1          1.      a Taurus, model PT111, 9mm, semi-automatic pistol bearing serial number

 2                  TKZ56902; and

 3          2.      any and all ammunition

 4   (all of which constitutes property).

 5          This Court finds that the United States of America may amend this order at any time

 6   to add subsequently located property or substitute property to the forfeiture order pursuant

 7   to Fed. R. Crim. P. 32.2(b)(2)(C) and 32.2(e).

 8          This Court finds the United States of America is now entitled to, and should, reduce

 9   the aforementioned property to the possession of the United States of America.

10          NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND

11   DECREED that the United States of America should seize the aforementioned property.

12          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED all possessory

13   rights, ownership rights, and all rights, titles, and interests of Robert Isaiah Marshall in the

14   aforementioned property are forfeited and are vested in the United States of America and

15   shall be safely held by the United States of America until further order of the Court.

16          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the United States

17   of America shall publish for at least thirty (30) consecutive days on the official internet

18   government forfeiture website, www.forfeiture.gov, notice of this Order, which shall

19   describe the forfeited property, state the time under the applicable statute when a petition

20   contesting the forfeiture must be filed, and state the name and contact information for the

21   government attorney to be served with the petition, pursuant to Fed. R. Crim. P. 32.2(b)(6)

22   and 21 U.S.C. § 853(n)(2).

23          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any individual

24   or entity who claims an interest in the aforementioned property must file a petition for a

25   hearing to adjudicate the validity of the petitioner’s alleged interest in the property, which

26   petition shall be signed by the petitioner under penalty of perjury pursuant to 21 U.S.C. §

27   853(n)(3) and 28 U.S.C. § 1746, and shall set forth the nature and extent of the petitioner’s

28   ///
                                                      2
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 1   right, title, or interest in the forfeited property and any additional facts supporting the

 2   petitioner’s petition and the relief sought.

 3          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a petition, if any,

 4   must be filed with the Clerk of the Court, 333 Las Vegas Boulevard South, Las Vegas,

 5   Nevada 89101, no later than thirty (30) days after the notice is sent or, if direct notice was

 6   not sent, no later than sixty (60) days after the first day of the publication on the official

 7   internet government forfeiture site, www.forfeiture.gov.

 8          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED a copy of the

 9   petition, if any, shall be served upon the Asset Forfeiture Attorney of the United States

10   Attorney’s Office at the following address at the time of filing:

11                  Daniel D. Hollingsworth
                    Assistant United States Attorney
12                  James A. Blum
                    Assistant United States Attorney
13                  501 Las Vegas Boulevard South, Suite 1100
                    Las Vegas, Nevada 89101.
14

15          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED the notice

16   described herein need not be published in the event a Declaration of Forfeiture is issued by

17   the appropriate agency following publication of notice of seizure and intent to

18   administratively forfeit the above-described property.

19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

20   copies of this Order to all counsel of record.

21                 September 18
            DATED _____________________, 2020.

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24                                                  HONORABLE KENT J. DAWSON
                                                    UNITED STATES DISTRICT JUDGE
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 1                               CERTIFICATE OF SERVICE

 2         A copy of the foregoing was served upon counsel of record via Electronic Filing on

 3   September 17, 2020.

 4
                                                            /s/ Brian Whang
 5                                                          BRIAN WHANG
                                                            Assistant United States Attorney
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